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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                                        CASE: 1:21-cv-23000
  CARLOS BRITO,

           Plaintiff,
  v.

  GENUINE PARTS COMPANY,

          Defendant.
  _____________________________/

             JOINT STIPULATION OF FINAL DISMISSAL WITH PREJUDICE

        Plaintiff, CARLOS BRITO, (“Plaintiff”), and Defendant, GENUINE PARTS COMPANY

  (“Defendant”), by and through undersigned counsel, and pursuant to Federal Rule of Civil

  Procedure 41(a)(1)(A)(ii), hereby STIPULATE AND AGREE that this matter has been settled and

  to the immediate dismissal of this action with prejudice, with each party to bear its own attorney’s

  fees and costs except as indicated in the settlement agreement.

        STIPULATED AND AGREED by Counsel for the Parties on the dates below written.

   Respectfully submitted on October 14, 2021.

   /s/ Anthony J. Perez                           /s/ Stewart Dorian Williams
   ANTHONY J. PEREZ                               Stewart Dorian Williams
   Florida Bar No. 535451                         Florida Bar No.: 352705
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                                                  Attorney for Defendant Genuine Parts
                                                  Company
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

  Court's electronic filing system upon all parties of record on October 14, 2021.


                                                       GARCIA-MENOCAL & PEREZ, P.L.
                                                       Attorneys for Plaintiff
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                                                       By: ___/s/_Anthony J. Perez________
                                                              ANTHONY J. PEREZ
                                                              Florida Bar No.: 535451




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